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                       UNITED STATES DISTRICT COURT

                            DISTRICT OF HAWAII


  S&G LABS HAWAII, LLC, A HAWAII         CIV. NO. 19-00310 LEK-WRP
  LIMITED LIABILITY COMPANY,

                    Plaintiff,

        vs.

  DARREN GRAVES,

                    Defendant.


              ORDER: RULING ON THE PARTIES’ PRETRIAL BRIEFS;
                 AND GRANTING IN PART AND DENYING IN PART
               THE S&G PARTIES’ MOTION FOR SUMMARY JUDGMENT

              On April 9, 2021, for reasons unrelated to this case,

 the Court vacated the trial and discharged the jury that was

 selected on April 5, 2021.      The Court also issued two briefing

 schedules for the parties to address issues of law to be

 resolved prior to the new trial date.        [Minutes - EP: Trial

 Status Conference, filed 4/9/21 (dkt. no. 185).]          The instant

 Order rules on the issues presented in: 1) Defendant/Counter

 Claimant/Third-Party Plaintiff Darren Graves’s (“Graves”)

 Opening Brief Regarding Counts I and II, Attorneys’ Fees Under

 DTSA and HUTSDA (“Trade Secrets Brief”); [filed 4/23/21 (dkt.

 no. 188);] 2) Graves’s Opening Brief Regarding Liability Under

 Count X and XI, Wrongful Termination (“Wrongful Termination

 Brief”); [filed 5/28/21 (dkt. no. 197);] 3) Graves’s Opening
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 Brief Re Inadmissibility of Interpretation or Application of Law

 (“EKRA Brief”);1 [filed 5/28/21 (dkt. no. 198);] and 4) the

 Motion for Summary Judgment as to Counts Three, Six, and Seven,

 of the Second Amended Counterclaim, and Counts One Through Four

 of the First Amended Third Party Complaint filed by

 Plaintiff/Counterclaim Defendant S&G Labs Hawaii, LLC (“S&G”)

 and Third-Party Defendants Lynn Puana (“Dr. Puana”) and

 Stephanie Bade-Castro (“Bade-Castro” or “Castro” and,

 collectively with S&G and Dr. Puana, “S&G Parties”, and “S&G

 Parties’ Motion”), [filed 5/28/21 (dkt. no. 199)].          A hearing on

 the issues presented in the Trade Secrets Brief was held on

 June 4, 2021, and a hearing on the issues presented in the

 Wrongful Termination Brief, the EKRA Brief, and the S&G Parties’

 Motion was held on July 16, 2021.

             For the reasons set forth below, the Court rules as

 follows:

 1)   Graves is entitled to an award of the reasonable attorneys’
 fees that he incurred defending against S&G’s trade secret
 claims after December 28, 2020.

 2)   The commission-based compensation provisions of Graves’s
 employment contract with S&G did not violate EKRA, and therefore
 S&G’s failure to pay him according to those provisions


       1“EKRA” refers to the Eliminating Kickbacks in Recovery
 Act, which was part of the Substance Use - Disorder Prevention
 that Promotes Opioid Recovery and Treatment for Patients and
 Communities Act of 2018. The EKRA is Subtitle J of Title VIII
 of the larger act, Pub. L. 115-271, 132 Stat. 3894, 3900, 4108-
 10 (2018), and it is codified at 18 U.S.C. § 220.
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 constituted both a breach of contract and a violation of Haw.
 Rev. Stat. Chapter 388.

 3)   Graves has established his prima facie case for his
 wrongful termination claim under the Hawai`i Whistleblower
 Protection Act, Haw. Rev. Stat. § 378-61, et seq. (“HWPA”), and
 he has established his prima facie case for his claim alleging a
 wrongful termination in violation of public policy. Only issues
 related to S&G’s defenses to these claims and Graves’s damages
 associated with these claims will be presented to the jury.

 4)   Summary judgment is granted in favor of Bade-Castro as to
 Graves’s third-party claim based upon her allegedly defamatory
 statements about him to Dr. Puana.

 5)   The S&G Parties’ request for summary judgment is denied as
 to Graves’s defamation per se claim and his
 defamation/commercial disparagement claim against Dr. Puana.

                                 BACKGROUND

             The parties and the Court are familiar with the

 factual and procedural background of this case, which will only

 briefly be summarized here.       The facts that are relevant to only

 one specific brief or only to the S&G Parties’ Motion will be

 included within those portions of the Discussion section.

             Graves was employed by S&G as a manager overseeing

 client accounts.     He began his employment on March 6, 2017, and

 the term of his Employment Agreement was scheduled to end on

 March 6, 2023.     [Graves’s concise statement of facts in supp. of

 Motion for Summary Judgment (“Graves CSOF”), filed 1/4/20 (dkt.

 no. 96), at ¶¶ 3-4; S&G’s mem. in opp. to Graves’s summary

 judgment motion (“S&G’s Summary Judgment Opp.”), filed 12/28/20

 (dkt. no. 102), at 2 (admitting Graves CSOF ¶¶ 3-4); Graves’s


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 CSOF, Decl. of Darren Graves (“Graves 11/4/20 Decl.”), Exh. A

 (Employment Agreement).]      His compensation included a base

 annual salary of $50,000 and percentages of the monthly net

 profits generated by his client accounts and by the client

 accounts handled by the S&G employees who he managed.           [Graves

 11/4/20 Decl., Exh. A at 1, 7.]

              In early 2019, S&G’s General Counsel advised Dr. Puana

 that: EKRA prevented a medical testing company from compensating

 its employees based on the number of tests the company

 performed; and if she continued to pay the S&G sales team

 according to their existing employment agreements, she could

 face criminal penalties.      [S&G’s Summary Judgment Opp., Decl. of

 Lynn Puana, M.D. (“Puana 12/28/20 Decl.”) at ¶¶ 14-15.]

 Dr. Puana subsequently informed the S&G account executives -

 including Graves, Bade-Castro, and Justin Gay (“Gay”) - about

 EKRA and her intent to revise their compensation structure.

 During the revision process, Dr. Puana proposed a salary-based

 compensation structure and included a non-compete provision and

 a non-solicitation provision.       [Graves’s CSOF at ¶¶ 6-7, 9-10;

 S&G’s Summary Judgment Opp. at 2 (admitting Graves’s CSOF ¶¶ 6-

 7, 9-10).]    In the following weeks, Graves and Dr. Puana engaged

 in negotiations regarding her proposals for his new employment

 agreement, but they never entered into a new agreement.              On

 June 14, 2019, Dr. Puana suspended Graves with pay and

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 instructed him not to contact S&G clients.         [Graves’s CSOF at

 ¶ 34; S&G’s Mem. in Opp. at 2 (admitting Graves’s CSOF ¶ 34).]

 On September 9, 2019, S&G issued a letter terminating Graves’s

 employment for cause (“Termination Letter”).         See generally

 evidence cited in the Order Granting Defendant’s Motion for

 Summary Judgment, filed 2/17/21 (dkt. no. 121) (“2/17/21

 Order”), at 8-15.2

             While the negotiations about the new employment

 contracts were ongoing, Graves contacted an S&G competitor, WHIC

 LLC, doing business as Aloha Toxicology (“Aloha Toxicology”),

 about the possibility of employment with that entity.           Graves

 engaged in a number of discussions with George Powell, a member

 of Aloha Toxicology, and Daniel Hlavachek, an owner and member

 of Aloha Toxicology, but Graves ultimately did not become

 employed with Aloha Toxicology.       [Graves 11/4/20 Decl. at ¶¶ 19-

 20, 31; Graves CSOF, Decl. of Leighton M. Hara, Esq. (“Hara

 11/4/20 Decl.”), Exh. K (Decl. of Dan Hlavachek) at ¶¶ 9-11.]

 Graves tried to convince Bade-Castro and Gay that they should

 all go to work for another laboratory and take their client

 accounts with them.     [S&G’s Summary Judgment Opp., Decl. of

 Stefanie Bade-Castro in lieu of Testimony under Direct


       2The 2/17/21 Order is available at 2021 WL 621429. On
 March 4, 2021, S&G moved for reconsideration of the order; the
 motion for reconsideration was denied in a March 19, 2021 order.
 [Dkt. nos. 132, 148.]
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 Examination (“Bade-Castro 12/28/20 Decl.”) at ¶¶ 2-4, 6-9.]

 Bade-Castro, however, ultimately executed a new S&G employment

 contract, and she told Dr. Puana about her discussions with

 Graves about moving to Aloha Toxicology.         [Id. at ¶ 10; Puana

 12/28/20 Decl. at ¶ 30.]

              S&G initiated this action on June 13, 2019.        [Dkt.

 no. 1.]     The original Complaint alleged: a claim under the

 Defend Trade Secrets Act (“DTSA”), 18 U.S.C. §§ 1832,

 1836(b)(1); a claim under the Hawai`i Uniform Trade Secrets Act

 (“HUTSA”), Haw. Rev. Stat. Chapter 482B; and a breach of

 contract claim.

              On June 19, 2019, S&G filed a motion seeking a

 preliminary injunction.      [Dkt. no. 12.]

              On August 19, 2019, Graves filed his answer to the

 Complaint, which included a counterclaim and a third-party

 complaint against Dr. Puana and Bade-Castro.         [Dkt. no. 35.]

              An evidentiary hearing on the motion for a preliminary

 injunction was held on August 30, 2019, [Minutes, filed 8/30/19

 (dkt. no. 42),] and the motion was ultimately denied, [Order

 Denying Pltf.’s Motion for Preliminary Injunction, filed

 11/25/19 (dkt. no. 60) (“11/25/19 Order”)].3




       3   The 11/25/19 Order is also available at 2019 WL 6311356.
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              On March 1, 2020, S&G filed its First Amended

 Complaint.    [Dkt. no. 63.]    The First Amended Complaint alleges:

 the DTSA claim (“Count I”); the HUTSA claim (“Count II”); a

 breach of contract claim based on competition against S&G

 (“Count III”); a breach of contract claim based on solicitation

 of subordinates to move to S&G’s competitor (“Count IV”); a

 breach of contract claim based on Graves’s urging his

 subordinates to refuse to execute their new contracts

 (“Count V”); a breach of contract claim based on the creation of

 a sexually hostile work environment, thereby exposing S&G to

 civil liability (“Count VI”); a breach of contract claim based

 on his disparagement of S&G’s ownership and management in a

 vulgar and profane manner (“Count VII”); a breach of contract

 claim based on Graves’s misrepresenting himself as one of S&G’s

 owners/partners (“Count VIII”); and a claim for declaratory

 relief related to the alleged breaches of contract (“Count IX”).

              On May 6, 2020, Graves filed his answer to the First

 Amended Complaint, which included a Second Amended Counterclaim

 and a First Amended Third-Party Complaint.         [Dkt. no. 72.]     The

 Second Amended Counterclaim asserts: a claim for attorney’s fees

 under the DTSA provision, 18 U.S.C. § 1836(b)(3)(D), that allows

 for an award of reasonable attorney’s fees to the prevailing

 defendant, if the plaintiff brought the DTSA claim in bad faith

 (“Counterclaim Count I”); a claim for attorney’s fees under the

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 comparable provision of the HUTSA, Haw. Rev. Stat. § 482B-5(1)

 (“Counterclaim Count II”); breach of contract (“Counterclaim

 Count III”); breach of the implied covenant of good faith and

 fair dealing (“Counterclaim Count IV”); unjust enrichment

 (“Counterclaim Count V”); a claim seeking payment of unpaid

 wages, pursuant to Haw. Rev. Stat. Chapter 388 (“Counterclaim

 Count VI”); tortious interference with prospective business

 advantage (“Counterclaim Count VII”); a claim seeking injunctive

 relief (“Counterclaim Count VIII”); a claim seeking declaratory

 relief (“Counterclaim Count IX”); a wrongful termination claim,

 pursuant to HWPA (“Counterclaim Count X”); and a wrongful

 termination claim based on violation of public policy

 (“Counterclaim Count XI”).

             The First Amended Third-Party Complaint alleges the

 following claims: a defamation claim against Bade-Castro

 (“Third-Party Count I”); a defamation per se claim against

 Dr. Puana (“Third-Party Count II”); a defamation/commercial

 disparagement claim against Dr. Puana (“Third-Party Count III”);

 a tortious interference with prospective business advantage

 claim against Dr. Puana and Bade-Castro (“Third-Party

 Count IV”); a tortious interference with contract claim against

 Dr. Puana and Bade-Castro (“Third-Party Count V”); a claim

 seeking injunctive relief (“Third-Party Count VI”); and a claim

 seeking declaratory relief (“Third-Party Count VII”).

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              In the 2/17/21 Order, summary judgment was granted in

 favor of Graves as to all of the claims in the First Amended

 Complaint.    2021 WL 621429, at *17.      At that point, no party had

 moved for summary judgment as to the claims in either Graves’s

 Second Amended Counterclaim or his First Amended Third-Party

 Complaint.    On June 10, 2021, the Court approved the parties’

 stipulation to dismiss Counterclaim Count VII and Third-Party

 Count IV with prejudice.4      [Dkt. no. 204.]    The purpose of the

 current briefs and the S&G Parties’ Motion is to identify the

 claims that will be before the jury at trial.

                                 DISCUSSION

 I.    Trade Secrets Brief

              Counterclaim Counts I and II are statutory claims for

 the Court, and not the jury, to determine.         With respect to

 S&G’s trade secret claims in Counts I and II, the 2/17/21 Order

 stated:

                   However, S&G has presented no evidence which
              raises a genuine issue of fact as to the question
              of whether either its monthly testing volume,
              testing contracts with insurance companies, or
              compensation structure is information that has
              actual or potential economic value because it is
              not generally known. Further, in light of S&G’s
              representation that it lacks sufficient
              admissible and probative evidence of damages
              associated with its trade secrets claims, this
              Court finds that there are no genuine issues of

       4To the extent that the S&G Parties’ Motion seeks summary
 judgment as to Counterclaim Count VII and Third-Party Count IV,
 the motion is denied as moot.
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             material fact as whether S&G’s testing volume,
             insurance company contracts, and commission
             structure was information that had economic
             value. S&G cannot carry its burden of proof at
             trial as to an essential element of its DTSA
             claim and its HUTSA claim - that a trade secret
             exists. Because there is no genuine issue of
             material fact for trial, Graves is entitled to
             judgment as a matter of law as to Count I and
             Count II.

  2021 WL 621429, at *11 (citation omitted).        Graves’s position is

  that, based on this Court’s rulings as to Counts I and II, he is

  entitled to judgment in his favor as to Counterclaim Counts I

  and II.

       A.    Bad Faith Standard

             The civil remedies provision of the DTSA states:

             In a civil action brought under this subsection
             with respect to the misappropriation of a trade
             secret, a court may -

                   . . . .

                   (D) if a claim of the misappropriation is
                   made in bad faith, which may be established
                   by circumstantial evidence, a motion to
                   terminate an injunction is made or opposed
                   in bad faith, or the trade secret was
                   willfully and maliciously misappropriated,
                   award reasonable attorney’s fees to the
                   prevailing party.

  18 U.S.C. § 1836(b)(3).     The HUTSA provides, in relevant part:

  “The court may award reasonable attorney’s fees to the

  prevailing party if: (1) A claim of misappropriation is made in

  bad faith[.]”    Haw. Rev. Stat. § 482B-5.      Neither the DTSA nor

  the HUTSA defines what constitutes bad faith.         Graves notes that

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  courts within the Ninth Circuit require that the trade secrets

  claim be objectively specious and that the party, subjectively,

  either brought or maintained the claim in bad faith.          [Trade

  Secrets Brief at 16-17 (quoting Swarmify, Inc. v. Cloudfare,

  Inc., No. C 17-06957 WHA, 2018 WL 4680177, at *2 (N.D. Cal.

  Sep. 28, 2018) (citing CRST Van Expedited, Inc. v. Werner

  Enterprises, Inc., 479 F.3d 1099, 1111 (9th Cir. 2007))) and

  (citing Berry v. Haw. Express Serv., No. 03-cv-00385 SOM/LEK,

  2007 U.S. Dist. LEXIS 15077, at *46 (D. Haw. Mar. 2, 2007)).]

             CRST was decided under California law.        479 F.3d at

  1102.   In reviewing the district court’s award of attorneys’

  fees to the defendant as to the misappropriation of trade

  secrets claim, the Ninth Circuit noted:

             Cal. Civ. Code § 3426.4 (2004) provides in part:

                   If a claim of misappropriation is made in
                   bad faith, a motion to terminate an
                   injunction is made or resisted in bad faith,
                   or willful and malicious misappropriation
                   exists, the court may award reasonable
                   attorney’s fees to the prevailing party.

             The California Court of Appeal has interpreted
             the statute’s “bad faith” element to require
             “objective speciousness of the plaintiff’s claim
             . . . and its subjective bad faith in bringing or
             maintaining the claim.” Gemini Aluminum Corp. v.
             California Custom Shapes, Inc., 95 Cal. App. 4th
             1249, 1262, 116 Cal. Rptr. 2d 358 (2002).

  479 F.3d at 1111 (footnote omitted).       The Ninth Circuit held

  that it was permissible for the district court to apply Cal.


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  Civ. Code § 3426.4, and the district court’s imposition of an

  award of attorneys’ fees was not an abuse of discretion under

  the facts of the case.     Id. at 1111-12.

             This district court has stated:

                  Like Hawaii, “California has adopted without
             significant change the Uniform Trade Secrets
             Act.” DVD Copy Control Ass’n, Inc. v. Bunner, 75
             P.3d 1, 9 (Cal. 2003). In Gemini Aluminum Corp.
             v. California Custom Shapes, Inc., 95 Cal. App.
             4th 1249, 1262, (Cal .App. 2002), the California
             Court of Appeals noted that, under California’s
             Uniform Trade Secrets Act (“CUTSA”), a defendant
             may recover attorneys’ fees “[i]f a claim of
             misappropriation is made in bad faith.” Because
             the CUTSA “does not define ‘bad faith,’” the
             court held that “‘bad faith’ for purposes of [the
             CUTSA] requires objective speciousness of the
             plaintiff’s claim, as opposed to frivolousness,
             and its subjective bad faith in bringing or
             maintaining the claim.” Id. “An objectively
             specious claim is one that is completely
             unsupported by the evidence or one that lacks
             proof as to one of its essential elements.” JLM
             Formation, Inc. v.. [sic] Form Pac, No. C 04–1774
             CW, 2004 WL 1858132, at *2 (N.D. Cal. Aug. 19,
             2004). “Subjective misconduct exists where a
             plaintiff knows or is reckless in not knowing
             that its claim for trade secret misappropriation
             has no merit.” Id. “A court may determine a
             plaintiff’s subjective misconduct by examining
             evidence of the plaintiff’s knowledge during
             certain points in the litigation and may also
             infer it from the speciousness of a plaintiff’s
             trade secret claim.” Id.

  Berry v. Haw. Express Serv., Inc., Civ. No. 03-00385 SOM/LEK,

  2007 WL 689474, at *13 (D. Hawai`i Mar. 2, 2007) (some

  alterations in Berry), aff’d sub nom. Berry v. Dillon, 291 F.

  App’x 792 (9th Cir. 2008).      This district court concluded that


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  Hawai`i courts were likely to apply the same analysis that the

  California courts, as well as the Michigan and Maryland courts,

  use - “objective speciousness and subjective misconduct.”            Id.

  at *15.   The Ninth Circuit affirmed the award of attorneys’ fees

  to the prevailing defendant “[b]ecause there was no evidentiary

  foundation for the trade secret misappropriation claim[.]”

  Berry, 291 F. App’x at 795 (citing Haw. Rev. Stat. § 482B–5(1)).

             However, a more recent Ninth Circuit decision suggests

  a different result.     In RJB Wholesale, Inc. v. Castleberry, the

  Ninth Circuit noted that both the DTSA and the Washington

  Uniform Trade Secrets Act (“WUTSA”) allowed for an award of

  reasonable attorney’s fees to a prevailing defendant where the

  trade secrets claim was made in bad faith.        788 F. App’x 565,

  566 (9th Cir. 2019) (citing Wash. Rev. Code § 19.108.040; 18

  U.S.C. § 1836(b)(3)(D)).      The Ninth Circuit held that the

  district court erred in looking to the California state courts’

  analysis for what constitutes bad faith because,

             outside the [W]UTSA, Washington has recognized
             that attorneys’ fees may be awarded “on the
             equitable grounds of . . . bad faith,”
             specifically for: (1) prelitigation misconduct;
             (2) procedural bad faith; and (3) substantive bad
             faith. Rogerson Hiller Corp. v. Port of Port
             Angeles, 96 Wash. App. 918, 982 P.2d 131, 135
             (1999). Prelitigation misconduct is “obdurate or
             obstinate conduct that necessitates legal action
             to enforce a clearly valid claim or right,”
             procedural bad faith is “vexatious conduct during
             the course of litigation,” and subjective bad
             faith “occurs when a party intentionally brings a

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             frivolous claim, counterclaim, or defense with
             improper motive.” Id. at 136 (citations
             omitted).

  Id. (some alterations in RJB).       The Ninth Circuit held that the

  district court erred in ruling that Castleberry was entitled to

  attorney’s fees under that bad faith analysis.         Id.

             This Court is inclined to find that RJB indicates that

  the Ninth Circuit would reverse the use of the objectively

  specious and subjective bad faith analysis in this case if the

  Hawai`i state courts have a different definition of bad faith

  outside of the trade secret context.       The Hawai`i Supreme Court

  has “declined to uphold awards under the bad-faith exception

  absent both clear evidence that the challenged actions are

  entirely without color, and are taken for reasons of harassment

  or delay or for other improper purposes and a high degree of

  specificity in the factual findings of the lower courts.”            Bank

  of Haw. v. Kunimoto, 91 Hawai`i 372, 390, 984 P.2d 1198, 1216

  (1999) (citation omitted).      “Bad faith has also been ‘defined as

  actual or constructive fraud or a neglect or refusal to fulfill

  some duty . . . not prompted by an honest mistake as to one’s

  rights or duties, but by some interested or sinister motive.’”

  Id. (some internal quotation marks omitted) (quoting In re

  Estate of Marks, 91 Wash. App. 325, 957 P.2d 235, 241 (1998)

  (addressing attorney’s fees in a probate action) (some internal

  quotation marks omitted) (ellipses in original)) and (citing In

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  re CARL Corp., 85 Hawai`i 431, 451–52, 946 P.2d 1, 21–22 (1997)

  (holding that reckless conduct, under Hawai`i Administrative

  Rule § 3–126–36(c) (1995), constituted bad faith)).          However,

  ultimately, it is not necessary for this Court to decide whether

  the objective speciousness and subjective misconduct standard or

  the actual or constructive fraud or neglect standard applies

  because the result in this case would be the same under either

  standard.

       B.     Application to the Facts of this Case

              The evidence that has been presented shows that, at

  the time S&G filed its original Complaint on June 13, 2019:

  Graves had a supervisory position with S&G; he and Dr. Puana

  were engaged in negotiations regarding a new employment

  agreement; he was dissatisfied with the new terms that Dr. Puana

  was proposing; and he was looking into employment possibilities

  with an S&G competitor.     Graves’s Employment Agreement that was

  in effect at that time stated:

              During the Employee’s employment with the
              Company, the Employee will not, directly or
              indirectly, individually or as a consultant to,
              or an employee, officer, director, manager,
              stockholder, partner, member or other owner or
              participant in any business entity, other than
              the Company, engage in or assist any other person
              or entity to engage in any business which
              competes with the Company’s Business, regardless
              of where that business is located, unless
              mutually agreed upon and documented.

  [Graves 11/4/20 Decl., Exh. A (Employment Agreement) at ¶ 7(a).]

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             S&G’s Count I alleged:

             Defendant Graves, with intent to convert trade
             secrets related to services provided by Plaintiff
             S&G LABS to its clients, in or intended for use
             in interstate or foreign commerce, to the
             economic benefit of someone other than S&G LABS,
             the owner thereof, and intending or knowing that
             such activity will injure S&G LABS as the owner
             of that trade secrets, did knowingly and without
             authorization appropriate, take, carry away, and
             conceal such trade secrets; attempted to do so;
             and conspired with another person to do so.

  [Complaint, filed 6/13/19 (dkt. no. 1), at ¶ 24 (emphases in

  original).]    Count I also alleged Graves “without authorization

  did transmit, deliver, communicate, or convey trade secret

  information to someone other than S&G LABS, the lawful owner of

  the trade secret information; attempted to do so; and conspired

  with another person to do so.”       [Id. at ¶ 25 (emphasis in

  original).]    Similarly, Count II alleged Graves

             misappropriated and improperly disclosed trade
             secrets belonging to Plaintiff S&G LABS by
             actually, or threatening to disclose trade
             secrets information, including a formula,
             pattern, compilation, program, device, method,
             technique, or process that derives independent
             economic value, actual or potential, from not
             being generally known to, and not being readily
             ascertainable by proper means by, other persons
             who can obtain economic value from its disclosure
             or use; and has been the subject of efforts by
             the owner of that information that are reasonable
             to maintain its secrecy.

  [Id. at ¶ 28 (emphasis in original).]        In light of Graves’s

  position at S&G and his inquiry with an S&G competitor during

  his contract negotiations, this Court cannot find that S&G’s

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  trade secrets claims were either objectively specious or brought

  as a result of fraud or neglect.

               Nor did the filing of Graves’s Counterclaim and the

  proceedings related to S&G’s motion for preliminary injunction

  indicate that S&G was pursuing an objectively specious claim or

  pursuing a claim out of fraud or neglect.        Graves argued S&G’s

  trade secrets claims were “baseless,” and the Complaint failed

  to “describe exactly what trade secrets or confidential

  information that [S&G] contends Graves used, disclosed, or

  otherwise misappropriated.”      [Def. Darren Graves’ Counterclaim

  Against Pltf. S&G Labs Hawaii, LLC, a Hawaii Limited Liability

  Company, filed 8/19/19 (dkt. no. 35-1), at pg. 8 (emphasis

  omitted).]    Counterclaim Counts I and II asserted Graves was

  entitled to attorneys’ fees under the DTSA and HUTSA because S&G

  brought its trade secrets claims in bad faith.         [Id. at ¶¶ 53-

  64.]   However, these allegations can be construed as zealous

  advocacy.    The fact that S&G continued to pursue its trade

  secrets claims after Graves filed the Counterclaim does not show

  that S&G was pursuing the claims in bad faith, either under the

  objective speciousness and subjective misconduct standard or

  under the actual or constructive fraud or neglect standard.

               At the hearing on the motion for preliminary

  injunction, S&G’s counsel conceded, “[n]othing has actually

  happened yet,” following Graves’s alleged threat to take all of

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  S&G’s clients and put S&G out of business.        [8/30/19 hrg.

  trans., filed 9/23/19 (dkt. no. 54), at 93.]         S&G’s counsel

  characterized the motion for preliminary injunction as a

  “prophylactic” measure, “trying to get ahead of the problem

  rather than have to live with the problem and then come [to this

  Court after the problem materializes to obtain] relief.”             [Id.

  at 89.]   This Court denied S&G’s motion for preliminary

  injunction because S&G failed to establish that it was likely to

  suffer irreparable harm without a preliminary injunction.

  11/25/19 Order, 2019 WL 6311356, at *8.        Because the motion for

  preliminary injunction was ultimately resolved based on the

  irreparable harm issue, this Court did not address whether S&G

  was likely to succeed on the merits of the trade secrets claims.

  Id. (“Because [S&G] has not established irreparable harm, it is

  not necessary to address the other requirements for a

  preliminary injunction.”).      Thus, neither the evidence

  presented, the arguments of counsel, nor the rulings by this

  Court regarding S&G’s motion for preliminary injunction

  establish that S&G was pursuing the trade secrets claims in bad

  faith, either under the objective speciousness and subjective

  misconduct standard or under the actual or constructive fraud or

  neglect standard.

             In response to Graves’s motion for summary judgment on

  all of S&G’s claims, S&G conceded that it “lack[ed] sufficient

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  admissible and probative evidence that it has suffered monetary

  damages as a result of Graves’s conduct.”        [S&G’s Summary

  Judgment Opp. at 11.]     S&G therefore stated that it would “be

  seeking to dismiss [Counts I and II] ahead of trial.”          [Id.]    By

  the time he filed his reply in support of his motion for summary

  judgment (“Graves’s Summary Judgment Reply”), Graves had not

  been contacted by S&G about the dismissal of Counts I and II,

  and he therefore continued to seek summary judgment as to those

  claims.   [Graves’s Summary Judgment Reply, filed 12/31/20 (dkt.

  no. 103), at 7 n.1 (citing Graves’s Summary Judgment Reply,

  Decl. of Counsel at ¶ 5).]      At the January 15, 2021 hearing on

  Graves’s motion for summary judgment, S&G’s counsel stated “S&G

  Labs can’t prove that it has lost money as a result of” Graves’s

  “conversations and communications and information discussed”

  with S&G’s competitor, and counsel stated he was “skipping past”

  those claims in the argument.      [1/15/21 hrg. trans. at 6.5]

  S&G’s counsel also stated:

             I raise the issue of if we drop out the trade
             secret claim, we are not with only state law --

                  THE COURT: Once they drop out, they move
             for summary judgment, they’re going to be the --
             they’re going to be the prevailing party. You
             guys have not dismissed it up to this point, so


       5 The January 15, 2021 hearing transcript was designated as
  Trial Exhibit 67. See S&G Parties’ Errata Filing Re Objections
  to Proposed Exhibits of Counter-claimant Darren Graves, filed
  4/2/21 (dkt. no. 172), Exh. 67.
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             they’re going to be the prevailing party on those
             claims . . . .

                  MR. SHIPLEY:     I understand that, Your
             Honor. . . .

  [Id. at 9-10.]    There is no indication in the record that S&G

  sought to dismiss Counts I and II during the period between the

  hearing on Graves’s motion for summary judgment and the issuance

  of the 2/17/21 Order.     The 2/17/21 Order noted:

             S&G asks this Court to deny the portion of the
             Motion seeking summary judgment as to Counts I
             and II because S&G intends to dismiss those
             claims. However, since filing its memorandum in
             opposition on December 28, 2020, S&G has taken no
             action to effectuate its stated intent to dismiss
             Counts I and II. This Court will therefore
             address the merits of the Motion as to Counts I
             and II.

  2021 WL 621429, at *8.

             Because S&G failed to act upon its December 28, 2020

  representation that it was going to dismiss Counts I and II,

  those claims remained at issue in this case until this Court

  granted summary judgment to Graves.       Thus, S&G effectively

  continued to litigate those claims after it had conceded that it

  could not prevail on them.      This required Graves to, inter alia,

  prepare substantive arguments regarding Counts I and II in his

  Summary Judgment Reply and for presentation during the hearing

  on his motion for summary judgment.       The Court therefore finds

  that S&G’s inaction after its concession that it could not

  prevail on Counts I and II constituted bad faith prosecution of

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  those claims, under either the objective speciousness and

  subjective misconduct standard or the actual or constructive

  fraud or neglect standard.      As to the first standard, S&G forced

  Graves to continue to litigate the trade secrets claims after

  December 28, 2020, even though the claims were objectively

  specious, and S&G’s inaction after representing in a public

  filing that it was going to dismiss Counts I and II constituted

  subjective misconduct.     As to the second standard, S&G’s failure

  to pursue its stated intent to dismiss Counts I and II

  constituted actual neglect.

       C.    Ruling

             Although it is not entirely clear whether the Ninth

  Circuit would apply the objective speciousness and subjective

  misconduct standard or the actual or constructive fraud or

  neglect standard in this case, it is not necessary for this

  Court to decide which standard applies because the result would

  be the same under either standard.       Graves has established that

  S&G pursued its DTSA claim and its HUTSA claim in bad faith

  after December 28, 2020, but he has failed to establish bad

  faith prior to that point.      Graves is entitled to an award of

  the reasonable attorneys’ fees and costs that he incurred

  defending against Counts I and II after December 28, 2020.

             Graves is directed to file a motion for attorney’s

  fees and costs addressing the amount of the award, in compliance

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  with the requirements of Local Rule 54.2.        The motion shall be

  filed after the entry of the final judgment in this case to

  allow the award of attorney’s fees to be determined together

  with, or as an off-set of, any other award of attorney’s fees

  associated the other claims in this case.

  II.     EKRA Issues

               In the EKRA Brief, Graves seeks rulings that: 1) the

  issue of what, if any, effect EKRA had on his Employment

  Agreement is an issue of law to be determined by this Court; and

  2) any exhibits and testimony addressing that issue will be

  inadmissible during the jury trial.       The S&G Parties’ Motion

  seeks summary judgment in favor of S&G as to Counterclaim

  Counts III and VI, in light of the effect of EKRA on Graves’s

  Employment Agreement.

          A.   Additional Background

               Dr. Puana states that, “[i]n late 2018 or early 2019,”

  her “business attorney,” David Vaughn, Esq. (“Vaughn”), told her

  “a new federal criminal law had gone into effect making it

  illegal for medical lab businesses such as S&G Labs to base

  employee compensation on any formula resulting in wage payments

  that varied from month to month depending on the number of tests

  performed or revenue received for testing.”        [S&G Parties’

  Motion, Decl. of Lynn Puana, M.D. (“Puana 5/28/21 Decl.”) at

  ¶ 4.]    She therefore decided that she could not continue to pay

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  Graves according to the terms of his Employment Agreement

  because doing so could expose her, S&G, and S&G’s employees to

  criminal liability.     [Id. at ¶ 5.]     Dr. Puana

              advised Graves in mid-May that [they] needed to
              reach agreement on new compensation terms before
              the payroll date for the first pay period in May
              2019 so that he could be paid. When no such
              agreement was reached, [she] instructed our
              payroll company to pay Graves an amount equal to
              what his pay would be under the $1 million annual
              salary offer that was pending.

  [Id. at ¶ 13.]    Dr. Puana told Graves his pay would be

  retroactively adjusted based upon his agreed-upon annual salary

  once they signed a new contract.         [Id.]   This is consistent with

  the testimony and evidence that Graves previously offered in

  support of his motion for summary judgment.         See Graves 11/4/20

  Decl. at ¶¶ 16-17; see also id., Exh. E (emails dated 5/15/19

  between Dr. Puana and Graves).

              When Dr. Puana suspended Graves on June 14, 2019, she

  “directed that his wage payment be reduced to bi-monthly

  payments based on the $50,000 annual salary set forth in his

  existing employment contract[,]” because he had not agreed to a

  new contract and “his future employment with S&G Labs [was] in

  doubt[.]”   [Puana 5/28/21 Decl. at ¶ 14.]        Graves received that

  amount until his termination.      [Id.]

              Counterclaim Count III alleges S&G breached Graves’s

  Employment Agreement by reducing his compensation, beginning


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  May 20, 2019, to the approximate periodic equivalent of a

  $1 million annual salary, and then again on July 5, 2019, to the

  periodic equivalent of a $50,000 annual salary.         [Second Amended

  Counterclaim at ¶¶ 77-78.]      Counterclaim Count VI alleges that

  the failure to pay him according to the terms of the Employment

  Agreement constituted a violation of Haw. Rev. Stat.

  Chapter 388.    [Id. at ¶¶ 91-95.]       Neither Counterclaim Count III

  nor Counterclaim Count VI mentions the issue of a severance

  payment.   This Court therefore does not construe those claims as

  alleging S&G breached Graves’s Employment Contract and violated

  Chapter 388 by failing to make a severance payment when it

  terminated him.    Graves seeks an order requiring S&G to make the

  severance payment, but this is a form of the relief that he

  requests in Second Amended Counterclaim as a whole.          See id. at

  ¶ 106 (Counterclaim Count VIII states: “S&G Labs continues to

  wrongfully withhold the severance payment due to Graves for

  terminating his employment without cause, which amounts to

  approximately $1.8 million per the terms of the Contract.”); id.

  at PageID #: 832, Relief Sought ¶ 4 (praying for: “An order that

  S&G Labs pay the amounts due to Graves under the employment

  contract, including unpaid compensation and severance.”).

       B.    Whether the Employment Agreement Violates EKRA

             S&G’s position is that the commission-based

  compensation scheme under Graves’s Employment Agreement became

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  illegal and unenforceable when EKRA took effect.         What, if any,

  effect EKRA had on Graves’s Employment Agreement is an issue of

  law for this Court to determine.         EKRA states:

             (a) Offense.--Except as provided in subsection
             (b), whoever, with respect to services covered by
             a health care benefit program, in or affecting
             interstate or foreign commerce, knowingly and
             willfully--

                   (1) solicits or receives any remuneration
                   (including any kickback, bribe, or rebate)
                   directly or indirectly, overtly or covertly,
                   in cash or in kind, in return for referring
                   a patient or patronage to a recovery home,
                   clinical treatment facility, or laboratory;
                   or

                   (2) pays or offers any remuneration
                   (including any kickback, bribe, or rebate)
                   directly or indirectly, overtly or covertly,
                   in cash or in kind--

                         (A) to induce a referral of an
                         individual to a recovery home, clinical
                         treatment facility, or laboratory; or

                         (B) in exchange for an individual
                         using the services of that recovery
                         home, clinical treatment facility, or
                         laboratory,

             shall be fined not more than $200,000, imprisoned
             not more than 10 years, or both, for each
             occurrence.

  18 U.S.C. § 220(a) (emphases added).

             For purposes of § 220, “the term ‘laboratory’ has the

  meaning given the term in section 353 of the Public Health

  Service Act (42 U.S.C. 263a)[.]”         18 U.S.C. § 220(e)(4).      42

  U.S.C. § 263a(a) states:

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             the term “laboratory” or “clinical laboratory”
             means a facility for the biological,
             microbiological, serological, chemical, immuno-
             hematological, hematological, biophysical,
             cytological, pathological, or other examination
             of materials derived from the human body for the
             purpose of providing information for the
             diagnosis, prevention, or treatment of any
             disease or impairment of, or the assessment of
             the health of, human beings.

  S&G is a medical laboratory testing facility that performs

  urinalysis screening for legal substances, as well as for

  controlled substances, for physicians, substance abuse treatment

  centers, and other types of organizations.        [Puana 12/28/20

  Decl. at ¶ 4.]    This Court therefore finds that S&G is a

  laboratory for purposes of EKRA.

             Dr. Puana testified she believed that, if S&G

  continued to pay Graves under the terms of his Employment

  Agreement, it would violate EKRA, i.e., § 220(a)(2).          See Puana

  5/28/21 Decl. at ¶ 5.     Neither EKRA’s definitions subsection nor

  the definition section of Title 18, Part I, Chapter 11 (which

  EKRA is a part of) defines “remuneration” and “individual.”           See

  § 220(e); 18 U.S.C. § 202.      These terms

             “must be read in [its] context and with a view to
             [its] place in the overall statutory scheme,”
             Food & Drug Admin. v. Brown & Williamson Tobacco
             Corp., 529 U.S. 120, 133, 120 S. Ct. 1291, 146 L.
             Ed. 2d 121 (2000) (quoting Davis v. Mich. Dep’t
             of Treasury, 489 U.S. 803, 809, 109 S. Ct. 1500,




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              103 L. Ed. 2d 891 (1989)),[6] because an act
              should “be interpreted as a symmetrical and
              coherent regulatory scheme, one in which the
              operative words have a consistent meaning
              throughout,” Gustafson v. Alloyd Co., 513 U.S.
              561, 569, 115 S. Ct. 1061, 131 L. Ed. 2d 1
              (1995).

  Ctr. for Biological Diversity v. Bureau of Land Mgmt., 833 F.3d

  1136, 1143 (9th Cir. 2016) (alterations in Ctr. for Biological

  Diversity).    Thus, these terms in EKRA are read in the context

  of the anti-kickback statute, 42 U.S.C. § 1320a-7b(b), which

  criminalizes certain remunerations in federal health care

  programs.   Section 1320a-7b(b) states, in pertinent part:

              (1) Whoever knowingly and willfully solicits or
              receives any remuneration (including any
              kickback, bribe, or rebate) directly or
              indirectly, overtly or covertly, in cash or in
              kind--

                   (A) in return for referring an individual
                   to a person for the furnishing or arranging
                   for the furnishing of any item or service
                   for which payment may be made in whole or in
                   part under a Federal health care program, or

                   (B) in return for purchasing, leasing,
                   ordering, or arranging for or recommending
                   purchasing, leasing, or ordering any good,
                   facility, service, or item for which payment
                   may be made in whole or in part under a
                   Federal health care program,

              shall be guilty of a felony and upon conviction
              thereof, shall be fined not more than $100,000 or
              imprisoned for not more than 10 years, or both.


       6 Brown & Williamson has been superseded by statute on other
  grounds. See, e.g., Nicopure Labs, LLC v. Food & Drug Admin.,
  944 F.3d 267, 272 (D.C. Cir. 2019).
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             (2) Whoever knowingly and willfully offers or
             pays any remuneration (including any kickback,
             bribe, or rebate) directly or indirectly, overtly
             or covertly, in cash or in kind to any person to
             induce such person--

                   (A) to refer an individual to a person for
                   the furnishing or arranging for the
                   furnishing of any item or service for which
                   payment may be made in whole or in part
                   under a Federal health care program, or

                   (B) to purchase, lease, order, or arrange
                   for or recommend purchasing, leasing, or
                   ordering any good, facility, service, or
                   item for which payment may be made in whole
                   or in part under a Federal health care
                   program,

             shall be guilty of a felony and upon conviction
             thereof, shall be fined not more than $100,000 or
             imprisoned for not more than 10 years, or both.

             Section 1320a-7b is part of title 42, chapter 7, and

  the definitions section for chapter 7 states: “The term ‘person’

  means an individual, a trust or estate, a partnership, or a

  corporation.”    42 U.S.C. § 1301(a)(3).      Thus, for purposes of

  the anti-kickback statute, an “individual” is not an artificial

  entity.   Section 1301(c) states:

             Whenever under this chapter or any Act of
             Congress, or under the law of any State, an
             employer is required or permitted to deduct any
             amount from the remuneration of an employee and
             to pay the amount deducted to the United States,
             a State, or any political subdivision thereof,
             then for the purposes of this chapter the amount
             so deducted shall be considered to have been paid
             to the employee at the time of such deduction.




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  (Emphasis added.)     Remuneration therefore includes payment by an

  employer to an employee.      Because § 1320a-7b(b)(1) and (2)

  address similar conduct and have similar language to § 220(a),

  the terms “remuneration” and “individual” in EKRA will be

  interpreted to have the same meaning that they have in the anti-

  kickback statute.

             In light of that construction, this Court finds that

  Graves’s compensation from S&G constitutes remuneration under

  EKRA.   Section 220(a)(2)(B) does not apply because the

  remuneration was not paid in exchange for Graves’s use of S&G’s

  laboratory services.     The critical issue is whether Graves’s

  remuneration was “to induce a referral of an individual to” S&G.

  See § 220(a)(2)(A).     Undoubtedly, Graves’s commission-based

  compensation structure induced him to try to bring more business

  to S&G, either directly through the accounts he serviced

  himself, or through the accounts of the personnel under his

  management.    However, the “client” accounts they serviced were

  not individuals whose samples were tested at S&G.         Their

  “clients” were “the physicians, substance abuse counseling

  centers, or other organizations in need of having persons

  tested.”   See Puana 12/28/20 Decl. at ¶ 6.       However, S&G was not

  compensated by those “clients”; S&G was “compensated for the

  testing services on a ‘per test’ basis by third party insurers,

  government agencies under the Medicare and Medicaid programs,

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  and direct ‘self-pay’ by some individuals.”        [Id. at ¶ 5.]

  There is no evidence that Graves’s client accounts included

  individuals who self-paid for S&G to perform urinalysis on their

  samples.   See, e.g., Puana 5/28/21 Decl. at ¶ 16 (“In late

  March, 2019, Graves’ single biggest client, CARE Hawaii, ended

  its relationship with S&G Labs.”); id. at ¶¶ 17-22 (describing

  changes to HMSA’s scope of coverage and stating that, in May

  2019, she offered Graves a $1 million annual salary based on her

  estimates of how S&G’s revenue would decline because of the loss

  of CARE Hawaii and HMSA’s coverage changes).7        Because Graves was

  not working with individuals, the compensation that S&G paid him

  was not paid to induce him to refer individuals to S&G.8

             EKRA’s exception provision does state that § 220(a)

  does not apply to

             a payment made by an employer to an employee or
             independent contractor (who has a bona fide
             employment or contractual relationship with such
             employer) for employment, if the employee’s
             payment is not determined by or does not vary by-
             -

                   (A) the number of individuals referred to a
                   particular recovery home, clinical treatment
                   facility, or laboratory;


       7 Graves’s commission-based compensation was more than
  $1.8 million in 2018. [Puana 5/28/21 Decl. at ¶ 15.]

       8 Even if Graves’s client accounts included individual
  physicians, those individuals were not the ones being referred
  to S&G for analysis of their samples.


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                    (B) the number of tests or procedures
                    performed; or

                    (C) the amount billed to or received from,
                    in part or in whole, the health care benefit
                    program from the individuals referred to a
                    particular recovery home, clinical treatment
                    facility, or laboratory;

  Section 220(b)(2).     Graves’s commission-based compensation from

  S&G was a payment made by an employer to an employee, and it was

  determined based upon the number of tests that S&G performed.

  Thus, the exception in § 220(b)(2) would not apply to Graves’s

  compensation under his Employment Agreement.         However, that does

  not mean his compensation violated EKRA.        The exception is only

  relevant if there is a violation of the provisions of § 220(a)

  in the first instance.     Because Graves’s compensation did not

  violate § 220(a), the § 220(b)(2) exception is irrelevant to

  this case.    This Court therefore concludes, as a matter of law,

  that the compensation provisions of Graves’s Employment

  Agreement did not violate EKRA.9

       C.      Effect of the Court’s Ruling

               Because the compensation provisions of Graves’s

  Employment Agreement did not violate EKRA, this Court concludes

  that, as a matter of law that: S&G breached Graves’s Employment




       9 In light of the Court’s ruling, it is not necessary to
  address the issue of whether a compensation provision that
  violates EKRA is severable from the rest of the contract or
  whether it renders the entire contract void.
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  Agreement by unilaterally reducing his periodic compensation and

  failing to pay the commissions described in the agreement; and

  the unilateral reduction and failure to pay commissions also

  violated Haw. Rev. Stat. Chapter 388.        Graves is therefore

  entitled to judgment as a matter of law, with respect to

  liability only, as to Counterclaim Counts III and VI.          At trial,

  the jury will determine the amount of damages Graves suffered as

  a result of the breach and the Chapter 388 violation, subject to

  any legal ruling that a portion of the damages sought as to

  Counterclaim Counts III and VI are duplicative.         To the extent

  that it seeks summary judgment in favor of S&G as to

  Counterclaim Counts III and VI, the S&G Parties’ Motion is

  denied.

             At trial, Dr. Puana will be allowed to testify that

  she believed the commission-based compensation provisions in

  Graves’s Employment Agreement and in the agreements of the other

  members of the S&G sales team violated EKRA, and she will be

  allowed to testify regarding the actions she took because of

  that belief.    This Court will instruct the jury that Dr. Puana’s

  belief was incorrect.     Dr. Puana will not be permitted to

  testify that Vaughn advised her that the commission-based




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  compensation provisions violated EKRA,10 nor will any party be

  permitted to introduce exhibits reflecting Dr. Puana’s

  consultation with Vaughn about the effect of EKRA.

  III. Wrongful Termination Issues

             In the Wrongful Termination Brief, Graves urges this

  Court to rule that he has established his prima facie case for

  Counterclaim Count X (wrongful termination in violation of HWPA)

  and to enter judgment in his favor as to liability for

  Counterclaim Count XI (wrongful termination in violation of

  public policy).

       A.    HWPA Claim

             HWPA states:

             An employer shall not discharge, threaten, or
             otherwise discriminate against an employee
             regarding the employee’s compensation, terms,
             conditions, location, or privileges of employment
             because:

                    (1) The employee, or a person acting on
                    behalf of the employee, reports or is about
                    to report to the employer, or reports or is
                    about to report to a public body, verbally
                    or in writing, a violation or a suspected
                    violation of:

                          (A) A law, rule, ordinance, or
                          regulation, adopted pursuant to law of
                          this State, a political subdivision of
                          this State, or the United
                          States . . . ,


       10The S&G Parties previously confirmed that Vaughn would
  not be called as a witness at trial. See Minutes - EP: Trial
  Status Conference, filed 4/7/21 (dkt. no. 183).
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                   unless the employee knows that the report is
                   false[.]

  Haw. Rev. Stat. Ann. § 378-62.       This Court has stated:

                  A § 378–62 claim has three requirements.
             First, an employee must have “engaged in
             protected conduct” as defined by HRS § 378-62(1).
             Griffin v. JTSI, Inc., 654 F. Supp. 2d 1122, 1131
             (D. Hawai`i 2008) (citing Crosby v. State Dept.
             of Budget & Fin., 76 Hawai`i 332, 342, 876 P.2d
             1300, 1310 (1994)). Second, the employer must
             take some “adverse action” against the employee.
             Id. And third, there must be “a causal
             connection between the alleged retaliation and
             the ‘whistleblowing.’” Id. To meet the causal
             connection requirement, an “employer’s challenged
             action must have been taken ‘because’ the
             employee engaged in protected conduct.” Id. In
             Crosby, the Supreme Court of Hawai`i adopted the
             McDonnell-Douglas [Corp. v. Green, 411 U.S. 792
             (1973),] burden shifting framework for HWPA
             claims. Therefore, a plaintiff can prove
             retaliation either through direct evidence, or by
             demonstrating that her protected activity played
             a role in the adverse employment action. Chan v.
             Wells Fargo Advisors, LLC, 124 F. Supp. 3d 1045,
             1055 (D. Hawai`i 2015). The defendant employer
             can then defend by showing that the adverse
             employment action would have occurred regardless
             of the protected activity. Id.

  Bach v. Cmty. Ties of Am., Inc., CIV. No. 18-00103 LEK-WRP, 2019

  WL 6054675, at *10 (D. Hawai`i Nov. 15, 2019), aff’d, 840 F.

  App’x 182 (9th Cir. 2021).

             In connection with Graves’s motion for summary

  judgment, the parties agreed that, on August 2, 2019, Graves

  sent an email to Dr. Puana (“8/2/19 Email”), arguing that

  suspending him and reducing his compensation was unjustified and

  was a hardship on his family.      [Graves’s CSOF at ¶ 38; S&G’s

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  Summary Judgment Opp. at 2 (admitting Graves’s ¶ 38).]          Graves

  stated, in pertinent part:

               On or about May 1st, you verbally told me that
               you made the decision to pay me a yearly salary
               of $1,000,000.00 - far less than my contractual
               [sic] compensation set forth in my employment
               contract. Soon after, on may [sic] 20th, you
               began paying me $39,583 per bi-monthly pay check
               which equates to roughly $949,992[.]

               Then, on July 5th, 2019 without ANY notice, you
               began paying me only $2.083 per pay period or
               $4,166 per month. This is a 95% reduction in my
               monthly compensation! Clearly, my family and I
               cannot live on $4,166 per month and I need my pay
               reinstated. Please correct the July 5th and July
               20th payroll entries and provide me with the
               compensation you promised to pay me under my
               Employment Agreement.

               . . . .

               Please provide me with the appropriate back wages
               for July as well as confirm that my paychecks
               going forward will reflect my compensation per
               the Employment Agreement. . . .

               I just want what was promised me in my Employment
               Agreement. No more. No less. . . .

  [Graves 11/4/20 Decl., Exh. G (8/2/19 Email) (emphases

  omitted).]

               Graves argues the 8/2/19 Email and the filing of his

  original Counterclaim on August 19, 2019 constituted protected

  activity for purposes of HWPA.       In the 8/2/19 Email, Graves

  informed Dr. Puana that he believed S&G was improperly

  withholding compensation that he was entitled to under the

  Employment Contract.     Even if the 8/2/19 EO shows that Graves

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  suspected S&G was violating “[a] law, rule, ordinance, or

  regulation,” his report of the suspected violation to Dr. Puana

  does not constitute a report to a public body, nor does the

  8/2/19 Email indicate Graves was about to report the suspected

  violation to a public body.      See Haw. Rev. Stat. § 378-61

  (definition of “Public body”).

             Graves’s original Counterclaim alleged, inter alia,

  that S&G’s failure to pay him all of the compensation he was due

  under his Employment Agreement constituted a violation of Haw.

  Rev. Stat. Chapter 388.     [Counterclaim at ¶¶ 84-88.]       “The

  judiciary and any member or employee of the judiciary” are

  included within the definition of a “[p]ublic body” for purposes

  of the HWPA.    Section 378-61 (“Public body” at ¶ 6).        Thus,

  Graves’s filing of his original Counterclaim constituted

  protected activity for purposes of HWPA.        Graves’s termination

  on September 9, 2019 constituted an adverse employment action.

  See Hara 11/4/20 Decl., Exh I (9/9/19 email from S&G’s counsel

  to Graves’s counsel, transmitting the Termination Letter).

             The adverse employment action occurred approximately

  three weeks after Graves’s protected activity.         The Court also

  notes that S&G issued the Termination Letter while S&G’s motion

  for preliminary injunction was pending before this Court, but

  this Court had already indicated it was inclined to deny the

  motion.   See 8/30/19 hrg. trans. at 95-99.       This temporal

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  proximity is sufficient circumstantial evidence of a causal

  connection for purposes of Graves’s prima case for his HWPA

  claim.   See Bach, 2019 WL 6054675, at *11 (“In a HWPA analysis,

  a plaintiff is permitted to use temporal proximity as

  circumstantial evidence that the plaintiff’s protected conduct

  was a substantial or motivating factor in the adverse employment

  action.” (citing Griffin v. JTSI, Inc., 654 F. Supp. 2d 1122,

  1132 (D. Hawai`i 2008))); Chan v. Wells Fargo Advisors, LLC, 124

  F. Supp. 3d 1045, 1056 (D. Hawai`i 2015) (denying summary

  judgment in part on temporal proximity when the time between the

  protected activity and the first adverse action was

  approximately fifteen days, and the ultimate adverse action was

  within approximately fifty days).        This Court therefore

  concludes that Graves has established a prima facie case for his

  HWPA claim.

             “[O]nce the employee makes its prima facie showing,

  the employer must then ‘defend affirmatively by showing that the

  termination would have occurred regardless of the protected

  activity.’”    Griffin, 654 F. Supp. 2d at 1132 (quoting Crosby,

  76 Hawai`i at 342, 876 P.2d at 1310) (some internal quotation

  marks omitted).    The Termination Letter sets forth seven

  categories of conduct that S&G asserted constituted grounds for

  it to terminate Graves’s employment for cause.         [Hara 11/4/20

  Decl., Exh. I at PageID #: 1410-12.]       All of these grounds are

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  unrelated to the August 19, 2019 filing of the Counterclaim.

  Throughout this case, Graves has denied making the statements

  attributed to him in the Termination Letter, and he has asserted

  he was never given the opportunity to respond to the allegations

  described in the letter.      See, e.g., Graves 11/4/20 Decl. at

  ¶ 22 (“At no time did I make any negative or derogatory comments

  about [Dr. Puana], S&G, or any S&G employee to any individual or

  entity outside of S&G.”); id. at ¶ 30 (“I was not contacted by

  [Dr. Puana] or any other S&G representative to discuss those

  allegations.    I was not given any opportunity to respond to the

  complaints alleged against me.”).        S&G does not dispute that

  Dr. Puana did not discuss the allegations in the Termination

  Letter with Graves.     See Puana 12/28/20 Decl. at ¶ 43 (“I chose

  not to review these issues with Graves while he was

  suspended.”).    This Court therefore finds that there are genuine

  issues of material fact as to S&G’s defense that it would have

  terminated Graves’s employment regardless of his protected

  activity.   The issues related to S&G’s defense will be presented

  to the jury.    Further, there are genuine issues of material fact

  as to Graves’s damages associated with his HWPA claim, and the

  issue of damages will also be presented to the jury.

       B.     Parnar Claim

              This district court has stated:



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                  In Parnar v. Americana Hotels, Inc., the
             Hawai`i Supreme Court established a common-law
             cause of action through which an individual
             employee may bring a tort claim against his or
             her former employer if the employee can prove
             “that the discharge violates a clear mandate of
             public policy.” 652 P.2d 625, 631 (Haw. 1982).
             The purpose of a Parnar claim is to provide
             compensation to a plaintiff for wrongful acts
             that public policy would deem to be compensable,
             but that the legislature has not provided for
             remediating under the law. Shahata v. W Steak
             Waikiki, LLC, 721 F. Supp. 2d 968, 987 (D. Haw.
             2010) (noting that “[w]rongful termination
             claims” are usually only raised where “a
             statutory or other policy does not itself provide
             for a remedy to enforce the policy” (citing
             Griffin, 654 F. Supp. 2d at 1139–40)), aff’d, 494
             F. Appx. 729 (9th Cir. 2012). As such, if “the
             statutory or regulatory provisions which evidence
             the public policy themselves provide a remedy for
             the wrongful discharge, provision of a further
             remedy under the public policy exception is
             unnecessary.” Ross v. Stouffer Hotel, Co., 879
             P.2d 1037, 1047 (Haw. 1994) (quoting Lapinad v.
             Pac. Oldsmobile–GMC, 679 F. Supp. 991 (D. Haw.
             1988)).

  Assaye v. United Airlines, Inc., No. CV 17-00495 DKW-KSC, 2018

  WL 1975678, at *11 (D. Hawai`i Apr. 26, 2018) (alteration in

  Assaye).

             Hawai`i law allows a plaintiff to bring a Parnar claim

  based on the public policy identified in HWPA - the protection

  of whistleblowers.     Cruz v. Kaumana Drive Partners, LLC, Civ.

  No. 19-00255 JMS-KJM, 2020 WL 7698820, at *5 (D. Hawai`i Apr. 2,

  2020) (citing Ross v. Stouffer Hotel Co., 76 Hawai`i 454, 464,

  879 P.2d 1037, 1047 (1994) (providing the HWPA as an example of

  “a clear expression of legislative intent” to permit a Parnar

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  claim along with an HWPA claim despite the statutory remedy);

  Griffin, 654 F. Supp. 2d at 1140-41 (applying Ross and

  explaining that in HRS § 378-69, “the Hawaii legislature

  provided specifically that claims for discharge in violation of

  the HWPA do not preclude a plaintiff from also alleging a

  simultaneous Parnar claim”)).      Where warranted by the evidence,

  the plaintiff who prevails on a Parnar claim may obtain

             tort recovery, [which] may generally include
             special damages, which compensate claimants for
             specific out of pocket financial expenses and
             losses, general damages for pain, suffering, and
             emotional distress, In Re Hawaii Federal Asbestos
             Cases, 734 F. Supp. 1563 (1990), and punitive
             damages assessed for the purpose of punishing the
             defendant for aggravated or outrageous misconduct
             and to deter defendant and others from similar
             conduct in the future. See Masaki v. General
             Motors, 71 Haw. 1, 780 P.2d 566, recon. denied,
             71 Haw. 664, 833 P.2d 899 (1989).

  Norris v. Hawaiian Airlines, Inc., 74 Haw. 235, 264, 842 P.2d

  634, 647 (1992), aff’d, 512 U.S. 246 (1994).

             For the reasons set forth above regarding Graves’s

  HWPA claim, this Court also concludes that Graves has

  established a prima facie case for his Parnar claim and that

  there are triable issues of fact regarding S&G’s defense to the

  claim and Graves’s damages.

  IV.   Defamation Claims

             The S&G Parties’ Motion seeks summary judgment as to

  Third-Party Counts I, II, and III.


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       A.    Third-Party Count I

             Third-Party Count I alleges a defamation claim against

  Bade-Castro based on the following allegations:

                  63. Castro published knowingly false
             statements about Graves to [Dr.] Puana in or
             around June 2019 regarding Graves’ alleged
             disclosure of S&G Labs’ trade secrets.

                  64. Castro told [Dr.] Puana that Graves
             described to the owner of a competing company the
             commission structure of their S&G Labs’
             compensation, S&G Labs’ equipment, internal
             operational details (e.g. volume of monthly
             business), internal systems related to turn-
             around time, and other operational information.

  [First Amended Third-Party Complaint at PageID #: 849.]          In

  Hawai`i there are

             four elements necessary to sustain a claim for
             defamation:

                   (1) a false and defamatory statement
                   concerning another;

                   (2) an unprivileged publication to a third
                   party;

                   (3) fault amounting at least to negligence
                   on the part of the publisher [actual malice
                   where the plaintiff is a public figure]; and

                   (4) either actionability of the statement
                   irrespective of special harm or the
                   existence of special harm caused by the
                   publication.

             Gold v. Harrison, 88 Hawai`i 94, 100, 962 P.2d
             353, 359 (1998). . . .

  Gonsalves v. Nissan Motor Corp. in Hawai`i, 100 Hawai`i 149,

  171, 58 P.3d 1196, 1218 (2002) (some alterations in Gonsalves).

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             It is undisputed that Graves engaged in discussions

  with Aloha Toxicology about possible employment.         The parties

  disagree about what Graves disclosed or said about S&G during

  those discussions.     Compare Graves 11/4/20 Decl. at ¶¶ 19-21,

  with Bade-Castro 12/28/20 Decl. at ¶¶ 5-8.        However, that

  dispute of fact is not material to the disposition of Third-

  Party Count I.    See Fed. R. Civ. P. 56(a) (“The court shall

  grant summary judgment if the movant shows that there is no

  genuine dispute as to any material fact and the movant is

  entitled to judgment as a matter of law.”); In re Barboza, 545

  F.3d 702, 707 (9th Cir. 2008) (stating “a dispute is ‘material’

  only if it could affect the outcome of the suit under the

  governing law” (citing Anderson v. Liberty Lobby, Inc., 477 U.S.

  242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986))).

             As part of the analysis of whether the allegedly

  defamatory communication was unprivileged,

             the Court must determine, as a matter of law,
             whether the alleged defamatory communication is
             entitled to a qualified privilege. Vlasaty v.
             Pacific Club, 4 Haw. App. 556, 562, 670 P.2d 827,
             832 (1983). A qualified privilege “arises when
             the author of the defamatory statement reasonably
             acts in the discharge of some public or private
             duty, legal, moral, or social, and where the
             publication concerns subject matter in which the
             author has an interest and the recipients of the
             publication a corresponding interest or duty.”
             Aku v. Lewis, 52 Haw. 366, 371, 477 P.2d 162, 166
             (1970). See also Russell v. American Guild of
             Variety Artists, 53 Haw. 456, 497 P.2d 40 (1972);
             Vlasaty at 562, 670 P.2d 827. In claiming such

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             privilege, it is essential that the author of the
             defamatory matter and the recipients have a
             common interest and the communication is of a
             type reasonably deemed to protect or further that
             interest. Vlasaty at 562, 670 P.2d 827.

  Uema v. Nippon Express Haw., Inc., 26 F. Supp. 2d 1241, 1248–49

  (D. Hawai`i 1998) (footnote omitted).        However, regardless of

  whether a qualified privilege exists as a matter of law,

             a finding of a qualified privilege is
             insufficient to grant summary judgment. Rather,
             the qualified privilege is conditional and lost
             if it is abused. [Vlasaty, 4 Haw. App. at 562,
             670 P.2d 827.] A qualified privilege may be
             abused by the use of words not reasonably
             believed necessary to protect the particular
             interest for which the privilege is given. . . .
             Abuse of the qualified privilege is a
             determination to be made by the trier of fact.
             Calleon v. Miyagi and MTL, Inc., 76 Hawai`i 310,
             319, 876 P.2d 1278, 1287 (1994); Vlasaty at 562,
             670 P.2d 827.

  Id. at 1249.

             According to Bade-Castro, Graves told her about his

  discussions with Aloha Toxicology and invited her to participate

  in those discussions on more than one occasion because he was

  attempting to convince her to leave S&G with him.         [Bade-Castro

  12/28/20 Decl. at ¶¶ 2, 4.]      Graves has admitted in his answer

  to the First Amended Complaint that “he reached out to another

  laboratory” and “he invited Bade-Castro to participate in the

  calls and that she declined to do so.”        [Answer to Plaintiff’s

  First Amended Complaint Filed March 1, 2020 [Doc 63], filed

  5/6/20 (dkt. no. 72), at ¶ 72.]       On June 6 or 7, 2019, Bade-

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  Castro told Dr. Puana about Graves’s efforts to find employment

  with another laboratory.      [Bade-Castro 12/28/28 Decl. at ¶ 10;

  Puana 5/28/20 Decl. at ¶ 25.]      As of the filing of the S&G

  Parties’ Motion, Bade-Castro remained employed as an S&G account

  representative.    See Bade-Castro 5/28/21 Decl. at ¶¶ 22-23.

               Even viewing the record in the light most favorable to

  Graves as the nonmoving party,11 Bade-Castro acted reasonably, in

  her capacity as an account representative for S&G, when she

  reported Graves’s discussions with Aloha Toxicology to

  Dr. Puana.    Dr. Puana is the owner of S&G, and, at the time of

  Bade-Castro’s disclosure, Graves was an S&G manager.          [Puana

  12/28/20 Decl. at ¶ 2; Graves’s CSOF at ¶ 3; S&G’s Summary

  Judgment Opp. at 2 (admitting Graves’s CSOF ¶ 3).]          Graves

  managed the other S&G account executives, including Bade-Castro.

  See Graves’s CSOF at ¶¶ 6-7; S&G’s Mem. in Opp. at 2 (admitting

  Graves’s CSOF ¶¶ 6-7); Graves 11/4/20 Decl., Exh. A (Employment

  Agreement) at 7 (Schedule A - Compensation) at ¶ 2.c (discussing

  the “client accounts managed by employees whom [Graves] has the

  responsibility of managing”).      Bade-Castro made the statements

  about Graves, her manager, to Dr. Puana, the owner of the

  company, in the discharge of a private duty in her capacity as


       11In considering a motion for summary judgment, a court
  must view the record in the light most favorable to the non-
  moving party. Crowley v. Bannister, 734 F.3d 967, 976 (9th Cir.
  2013).
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  an S&G employee.    Further, both Bade-Castro and Dr. Puana had an

  interest in protecting S&G from suffering losses if Graves left

  the company.    See Aku, 52 Haw. at 371, 497 P.3d at 166.        The

  disclosure by Bade-Castro was a reasonable means to further

  their common interest.     See Vlasaty, 4 Haw. App. at 562, 670

  P.2d at 832.    This Court therefore concludes that, as a matter

  of law, Bade-Castro’s statements in June 2019 to Dr. Puana about

  Graves’s discussions with Aloha Toxicology are entitled to a

  qualified privilege.

               Although the qualified privilege can be lost through

  abuse, and abuse is generally an issue for the trier of fact,

  see Calleon, 76 Hawai`i at 319, 876 P.2d at 1287, Graves has not

  identified any evidence that suggests Bade-Castro abused the

  qualified privilege.     This Court therefore: finds that there is

  no genuine issue of material fact as to the issue of abuse of

  the qualified privilege; and concludes that Bade-Castro is

  entitled to judgment as a matter of law as to Third-Party

  Count I because the allegedly defamatory statements at issue in

  that claim are entitled to a qualified privilege, which has not

  been lost.    The S&G Parties’ Motion is granted as to Third-Party

  Count I.

       B.      Third-Party Counts II and III

               Third-Party Counts II and III both arise from

  allegedly defamatory statements Dr. Puana made about Graves to

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  persons associated with his client accounts.         Third-Party

  Count II is a defamation per se claim against Dr. Puana based on

  the following allegations:

                   78. [Dr.] Puana published knowingly false
              statements about Graves to his customers in or
              around June 2019 regarding Graves’ alleged
              disclosure of S&G Labs’ trade secrets.

                   79. Specifically, Puana stated that Graves
              is no longer with S&G Laboratories because he
              violated federal trade secret laws, stole
              employees, and that she would be filing a federal
              lawsuit against him. These statements were
              false, and caused the customer to believe Graves’
              employment with S&G Labs was terminated, while he
              was still employed with S&G Labs.

  [First Amended Third-Party Complaint at pgs. 18-19.]          Third-

  Party Count III is a defamation/commercial disparagement claim

  against Dr. Puana, based on the same conduct as Third-Party

  Count II.   See id. at ¶¶ 92-93.

       A.     Defamation Per Se

              Under Hawaii law, defamation per se includes
              statements that “impute to a person the
              commission of a crime” and statements that “have
              a tendency to injure him in his office,
              profession, calling or trade.” Partington v.
              Bugliosi, 825 F. Supp. 906, 915 (D. Haw. 1993)
              (citing Butler v. United States, 365 F. Supp.
              1035, 1044 (D. Haw. 1973)).

  Isaac v. Daniels, CIVIL NO. 16-00507 DKW-RLP, 2018 WL 1903606,

  at *6 (D. Hawai`i Mar. 30, 2018), report and recommendation

  adopted, 2018 WL 1902543 (Apr. 20, 2018).        Further,

              if a writing is defamatory per se, a plaintiff’s
              injury is presumed and the plaintiff can recover

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               damages without needing to allege and prove
               special damages. Partington, 825 F. Supp. at 915
               (noting that if a writing is defamatory per se,
               it is actionable without allegation of special
               damages); Kahanamoku v. Advertiser Pub. Co., 25
               Haw. 701 (1920) (explaining that if a plaintiff
               establishes libel per se, “injury to the
               plaintiff will be presumed and special damages
               need not be alleged or proven, but general and
               punitive damages may be recovered.”).

  Isaac v. Daniels, CIVIL NO. 16-00507 DKW-RLP, 2017 WL 2962890,

  at *8 (D. Hawai`i June 23, 2017), report and recommendation

  adopted, 2017 WL 2960511 (July 11, 2017).

               Dr. Puana states that, after Bade-Castro informed her

  about Graves’s discussions with Aloha Toxicology, she “decided

  to take steps immediately to protect S&G Labs’ business and its

  employees [because she] knew that Graves could resign with

  little or no notice, begin work immediately with Aloha

  Toxicology and start making efforts to convince S&G Labs’

  accounts to move with him.”      [Puana 5/28/21 Decl. at ¶ 30.]

  Further, on Friday, June 14, 2019, after she suspended Graves,

  Dr. Puana began making telephone calls to the client accounts

  that Graves had been handling.       She continued to make such calls

  through the weekend, and eventually the other remaining members

  of the S&G sales team helped her contact the accounts.          [Id. at

  ¶¶ 31-32.]    According to Dr. Puana, her “purpose in doing so was

  to advise the representatives of those accounts who dealt with

  S&G Labs that any communications with S&G Labs should be


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  directed to one of the other sales team members,” and those

  representatives were primarily told to contact Bade-Castro or

  Dr. Puana.    [Id. at ¶ 31.]    On June 17, 2019, Dr. Puana and

  Bade-Castro went to Maui, and from that day to June 21, 2019

  they held in-person meetings with some Maui accounts and

  continued to make some contacts by telephone.         [Id. at ¶ 32.]

               Dr. Puana states only “a small number” of the account

  representatives who they contacted asked questions about the

  situation, and she

               told them that disputes had arisen, that [she]
               had filed lawsuit under trade secret protection
               statutes, and that Graves was suspended from
               serving as an S&G Labs account representative
               until the issues were resolved. [She does] not
               recall a single conversation with any client
               extending beyond those generalities. No client
               or client representative asked for – nor were any
               given – detailed explanations about the events
               and disputes between S&G Labs, Graves, and Aloha
               Toxicology.

  [Id. at ¶ 33.]    Dr. Puana denies telling anyone that Graves had

  been terminated or “let go” by S&G.       [Id. at ¶ 34.]     Bade-

  Castro’s testimony is similar to Dr. Puana’s.         See Bade-Castro

  5/28/21 Decl. at ¶¶ 17-20.

               Graves states some of his clients told him that,

  during those meetings with Dr. Puana and/or Bade-Castro, “they

  were informed that [Graves] would no longer be servicing them

  and/or that [he] had been ‘let go’ from S&G.”         [Graves 11/4/20

  Decl. at ¶ 26.]    Although the record must be construed in the

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  light most favorable to Graves as the nonmoving party, only

  admissible evidence may be considered on summary judgment.            See

  Weil v. Citizens Telcom Servs. Co., 922 F.3d 993, 998 (9th Cir.

  2019).   Graves’s testimony about statements that unidentified

  persons made to about him statements either Dr. Puana or Bade-

  Castro made to them is hearsay, and Graves has not established

  that any exceptions to the rule against hearsay applies.             See

  generally Fed. R. Evid. 801 through 804.        Thus, Graves’s

  testimony alone is insufficient to establish a genuine issue of

  material fact as to Third-Party Count II.

               Graves also cites a declaration that he submitted in

  opposition to S&G’s motion for a preliminary injunction, and he

  notes that Dr. Puana’s and Bade-Castro’s current declarations

  are inconsistent with their prior testimony.         [Graves’s mem. in

  opp. to the S&G Parties’ Motion, filed 6/10/21 (dkt. no. 203),

  at 30-31.]    At the time of his declaration, Taylor Yap (“Yap”)

  was the office manager at Valley Isle Healthcare (“Valley Isle”)

  in Wailuku, Maui.     [Decl. of Taylor Yap (dated 8/6/19) (“Yap

  Decl.”), filed 8/15/19 (dkt. no. 32-20), at ¶ 2.]         Yap’s

  understanding was that Valley Isle brought its business to S&G

  primarily because of a desire to work with Graves.          [Id. at

  ¶ 5.]    Yap stated that, on June 19, 2019, against Yap’s wishes,

  Dr. Puana and Bade-Castro visited Valley Isle.         When an S&G

  employee told him Dr. Puana wanted to visit Valley Isle, he told

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  the employee that he did not want Dr. Puana to visit that day

  because neither he nor another Valley Isle manager would be

  there.   [Id. at ¶¶ 7-9.]     Dr. Puana and Bade-Castro “brought

  treats and informed [Yap’s] staff that [Graves was] no longer

  working with S&G . . . .”      [Id. at ¶ 9.]    Later that day,

  Dr. Puana called Yap, and she “apologized for visiting despite

  [Yap’s] wishes, and explained that [Graves was] no longer with

  S&G Laboratories because he violated federal trade secret laws,

  stole employees, and that she would be filing a federal lawsuit

  against him.”    [Id. at ¶ 10.]    Yap understood Dr. Puana’s

  comments to mean that S&G had terminated Graves’s employment.

  [Id. at ¶ 11.]

             As to Graves’s argument that the Puana 5/28/21

  Declaration and the Bade-Castro 5/28/21 Declaration are

  inconsistent with their prior statements, the record does

  contain prior statements by Dr. Puana and Bade-Castro that are

  not entirely consistent with their testimony in their May 28,

  2021 declarations.     Dr. Puana stated during discovery:

             Beginning on June 16, 2019, I did communicate
             with each S&G Labs client to inform them
             generally that Darren Graves would no longer be
             an account representative, and identified for
             them who they should contact with respect to
             their testing needs. I do not recall specifics
             as to individual conversations, however, I do
             recall that the subject of a federal lawsuit
             having been filed being mentioned without
             discussing details, and that as a result of that
             Darren would no longer communicate on behalf of

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               S&G Labs in response whenever a client asked for
               an explanation.

  [Hara 11/4/20 Decl., Exh. O (Dr. Puana’s answers to interrogs.,

  Verification dated 8/12/20) at pg. 6 (emphasis added).]          Bade-

  Castro’s response was similar.       [Id., Exh. P (Bade-Castro’s

  answers to interrogs., Verification dated 9/29/20) at pg. 5.]

  However, this Court cannot make credibility determinations or

  weigh the evidence in the record when ruling on a motion for

  summary judgment.     See Estate of Lopez ex rel. Lopez v. Gelhaus,

  871 F.3d 998, 1009 n.10 (9th Cir. 2017) (“At the summary

  judgment stage, ‘[c]redibility determinations, the weighing of

  the evidence, and the drawing of legitimate inferences from the

  facts are jury functions, not those of a judge.’” (alteration in

  Lopez) (quoting Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  255, 106 S. Ct. 2505, 91 L. Ed. 2d 202 (1986))).

               The Yap Declaration is testimony, presented under

  penalty of perjury, that Dr. Puana imputed to Graves the

  violation of federal trade secret laws and stealing S&G

  employees.    These are allegations that: were ultimately shown to

  be false; and would tend to injure Graves in his profession as a

  sale representative in the drug testing industry.         In

  considering the S&G Parties’ Motion, this Court cannot determine

  whether Yap is more credible than Dr. Puana and Bade-Castro, nor

  whether his testimony should be given more weight than theirs.


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  This Court therefore finds that, viewing the record in the light

  most favorable to Graves, there are genuine issues of material

  fact as to his defamation per se claim against Dr. Puana.            The

  S&G Parties’ Motion must be denied as to Third-Party Count II.

       B.    Defamation

             Viewing the record in the light most favorable to

  Graves, Yap’s testimony would satisfy the first element of the

  traditional defamation claim, Dr. Puana made false and

  defamatory statements about Graves.       As to the second element,

  Dr. Puana made those statements to Yap, a third party.          See

  Gold, 88 Hawai`i at 100, 962 P.2d at 359 (listing the elements

  of a defamation claim).     Dr. Puana’s statements that Graves was

  no longer servicing Valley Isle’s account and that any

  communications with S&G would be conducted through Bade-Castro

  would arguably be subject to a qualified privileged because they

  were made in the furtherance of a private duty, based on their

  common interest in the professional relationship between S&G and

  Valley Isle.    See Aku, 52 Haw. at 371, 477 P.2d at 166; Vlasaty,

  4 Haw. App. at 562, 670 P.2d at 832.       However, there is a

  genuine issue of fact as to whether that privilege was lost

  through abuse because Dr. Puana told Yap that Graves was not

  servicing the account because Graves violated federal trade

  secret laws and stole S&G employees.       See Calleon, 76 Hawai`i at

  319, 876 P.2d at 1287.     Further, there are genuine issues of

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  fact as to whether Dr. Puana was at least negligent in making

  those statements and as to the issue of harm.

             This Court therefore finds that, viewing the record in

  the light most favorable to Graves, there are genuine issues of

  material fact as to his defamation/commercial disparagement

  claim against Dr. Puana.      The S&G Parties’ Motion must be denied

  as to Third-Party Count III.

                                 CONCLUSION

             For the foregoing reasons, the S&G Parties’ Motion for

  Summary Judgment as to Counts Three, Six, and Seven, of the

  Second Amended Counterclaim, and Counts One Through Four of the

  First Amended Third Party Complaint, filed May 28, 2021, is

  GRANTED IN PART AND DENIED IN PART.       The S&G Parties’ Motion is:

  GRANTED insofar as summary judgment is granted in favor of Bade-

  Castro as to Third-Party Count I; DENIED AS MOOT as to

  Counterclaim Count VII and Third-Party Count IV; and DENIED as

  to Counterclaim Count III, Counterclaim Count VI, Third-Party

  Count II, and Third-Party Count III.

             Further, this Court rules that: Graves is entitled to

  judgment as a matter of law as to Counterclaim Counts I and II;

  Graves’s recovery as to Counterclaim Counts I and II will be

  determined in a post-judgment motion for attorney’s fees and

  costs; Graves is entitled to judgment as a matter of law as to

  liability for Counterclaim Counts III and VI; the issue of

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  damages as to Counterclaim Counts III and VI will be decided at

  trial; Graves has established his prima facie case as to

  Counterclaim Count X and his prima facie case as to Counterclaim

  Count XI; and the issues of S&G’s defenses and Graves’s damages

  as to Counterclaim Counts X and XI will be decided at trial.

             IT IS SO ORDERED.

             DATED AT HONOLULU, HAWAII, October 18, 2021.




  S&G LABS HAWAII VS. DARREN GRAVES; CV 19-00310 LEK-WRP; ORDER:
  RULING ON THE PARTIES’ PRETRIAL BRIEFS; AND GRANTING IN PART AND
  DENYING IN PART THE S&G PARTIES’ MOTION FOR SUMMARY JUDGMENT




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